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 4
     Attorney for Defendant
 5   TERESA MARIA MORALES
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )                No. CR.S-07-00314 FCD
10                                       )
                 Plaintiff,              )                STIPULATION AND ORDER
11                                       )                CONTINUING DEADLINE FOR
           v.                            )                SUPPLEMENTAL POINTS AND
12                                       )                AUTHORITIES
     TERESA MARIA MORALES,               )
13                                       )
                                         )
14               Defendant.              )
     ____________________________________)
15
     The parties hereby stipulate to the following:
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            1. After an evidentiary hearing concerning the defendant’s motion to suppress her
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            statement, the court set a deadline of January 15, 2010 for the filing of supplemental
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            points and authorities.
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            2. Both counsel for the defendant and counsel for the government are requesting
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            additional time to review the transcripts and draft a supplemental points and authorities.
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            Counsel for defendant is presently preparing for a hearing in a case involving
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            approximately 10,000 pages of written discovery. Therefore, it is requested that the
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            deadline for filing simultaneous supplemental points and authorities be continued to
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            January 29, 2010.
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26
     ///
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28                                                    1
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 1
         DATED: January 13, 2019          /s/ Tim Warriner
 2                                        Attorney for defendant, TERESA MARIA MORALES
 3
         DATED: January 13, 2010          /s/ Matthew Stegman
 4                                        Assistant U.S. Attorney
 5
 6
                                               ORDER
 7
            GOOD CAUSE APPEARING, it is hereby ordered that the deadline for both parties to
 8
         file supplemental points and authorities concerning defendant’s motion to suppress her
 9
         statement be continued to January 29, 2010.
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11
     .   DATED: January 15, 2010
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                                                  _______________________________________
13                                                FRANK C. DAMRELL, JR.
                                                  UNITED STATES DISTRICT JUDGE
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